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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

LT. COL. ALEXANDER VINDMAN,

              Plaintiff,                Civil Action No. 1:22-cv-00257-JEB

     v.

DONALD TRUMP, JR., RUDOLPH
GIULIANI, JULIA HAHN, and DANIEL
SCAVINO, JR.,

              Defendants.


            BRIEF OF FEDERAL COURTS LAW PROFESSORS AS
      AMICI CURIAE IN SUPPORT OF LT. COL. ALEXANDER VINDMAN’S
           OPPOSITION TO DEFENDANTS’ MOTIONS TO DISMISS


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                                INTERESTS OF AMICI CURIAE 1


        Amici curiae are law professors who teach and write about federal courts litigation,

including the doctrine of qualified immunity.

        Professor Alexander A. Reinert is the Max Freund Professor of Litigation and Advocacy

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is one of the country’s leading experts on police misconduct litigation. Professor Schwartz

additionally studies the dynamics of modern civil litigation. She is co-author, with Stephen

Yeazell, of a leading casebook, Civil Procedure (10th Edition), and her recent scholarship includes

articles empirically examining the justifications for qualified immunity doctrine; the financial

impact of settlements and judgments on federal, state, and local law enforcement officers and

agency budgets; and regional variation in civil rights protections across the country.

        Professor Stephen I. Vladeck holds the Charles Alan Wright Chair in Federal Courts at the

University of Texas at Austin School of Law. He has published numerous academic and popular

articles on issues related to civil suits against federal officials and constitutional torts, among other

topics, and is an expert on the origins and scope of qualified immunity doctrine. Professor Vladeck

has argued over a dozen cases before the U.S. Supreme Court, the Texas Supreme Court, and


1
 No person or entity other than amici and their counsel assisted in or made a monetary contribution
to the preparation or submission of this brief. Affiliations of amici are provided for purposes of
identification only.



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various lower federal civilian and military courts; has testified before numerous congressional

committees and Executive Branch agencies and commissions; and has served as an expert witness

both in U.S. state and federal courts and in foreign tribunals.

        Given their scholarly writings about and involvement in litigation related to qualified

immunity, amici have an interest in the sound historical understanding—and practical

application—of qualified immunity in federal litigation, including in this case.

I.      INTRODUCTION

        In their motions to dismiss, Defendants Hahn and Scavino, Jr. both argue, among other

things, that qualified immunity shields them from Plaintiff’s claims under 42 U.S.C. § 1985(1) and

(2). The Supreme Court has extended qualified immunity to government officials sued under

§ 1985(3) for constitutional torts. See Ziglar v. Abbasi, 137 S. Ct. 1843, 1866–67 (2017). But it

has never had occasion to decide whether qualified immunity may also be invoked as a defense to

civil liability under § 1985(1) and (2), which create civil liability for certain statutory offenses.

        The purpose of this brief is to explain why such a judge-made extension of qualified

immunity is unwarranted. Although 42 U.S.C. § 1985(3) creates civil liability for constitutional

torts analogous to the liability created by 42 U.S.C. § 1983, the preceding subsections of § 1985—

42 U.S.C. § 1985(1) and (2)—differ from § 1985(3) in both their text and their ambit. Rather than

codifying a general civil liability for deprivation of constitutional rights, § 1985(1) and (2) create

civil liability for specific, enumerated statutory offenses—offenses that are not only far more

concrete than the constitutional torts proscribed by § 1985(3), but that have comparably concrete

criminal analogues.

        As this brief explains, the Supreme Court’s justifications for qualified immunity from

constitutional tort claims under § 1983 and § 1985(3) do not comfortably map onto the express

statutory offenses defined in § 1985(1) and (2). The Court has proffered three rationales for



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qualified immunity in the context of constitutional torts: that it (a) derives its basis from analogous

common-law “good faith” immunities available at the time of § 1983’s enactment in 1871;

(b) ensures government officials are provided “fair notice” of the law’s requirements before being

held liable for violations; and (c) minimizes undue disruption in government operations. Like a

large (and growing) array of legal scholars and judges, amici have significant concerns about the

validity of each of these rationales as a justification for the current scope of qualified-immunity

doctrine in the context of constitutional tort litigation.

        But the relevant point for present purposes is that—whatever their force in the

constitutional tort context—none of these articulated rationales justifies extending qualified

immunity to the kinds of statutory offenses Plaintiff alleges here under § 1985(1) and (2). Indeed,

Defendants’ motions to dismiss only reinforce that point by relying primarily on cases involving

constitutional tort claims arising under § 1983 and § 1985(3). See Gooden v. Howard Cnty., Md.,

954 F.2d 960, 970 (4th Cir. 1992) (applying identical standard for application of qualified

immunity to § 1983 and § 1985(3) constitutional tort claims). Notably, litigation arising under

§ 1985(1) and (2) is relatively rare, compared to the much higher volume of constitutional tort

suits under § 1983 and § 1985(3). See, e.g., Mollnow v. Carlton, 716 F.2d 627, 630 (9th Cir. 1983)

(“Our research discloses that § 1985(1) has been seldom discussed.”); 2 Federal Civil Rights Acts

(3d ed.) § 15:2 (“Relatively few cases have arisen under [§ 1985(1)].”). Accordingly, amici

respectfully submit that this Court should not dismiss Plaintiff’s suit against either Defendant Hahn

or Defendant Scavino, Jr. on the basis of qualified immunity at this motion-to-dismiss stage.

II.     THE SUPREME COURT’S PROFFERED RATIONALES FOR QUALIFIED IMMUNITY HAVE NO
        APPLICATION TO § 1985(1) AND (2)’S STATUTORY OFFENSES.

        In entrenching the judge-made doctrine of qualified immunity, the Supreme Court has

articulated three overlapping rationales. Whatever the merits of those rationales in the context of




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constitutional tort claims under 42 U.S.C. §§ 1983 and 1985(3), they simply do not apply to the

express statutory claims Plaintiff alleges under 42 U.S.C. § 1985(1) and (2).

       A.      Qualified immunity’s common-law defenses rationale does not support its
               application to § 1985(1) and (2)’s statutory offenses alleged by Plaintiff here.

       First, the Supreme Court has repeatedly suggested that qualified immunity for government

officials from constitutional tort claims under § 1983 constitutes the extension of the common-law

“good faith” reliance defense that was available at the time of § 1983’s enactment in 1871. But

that defense would have had no applicability to claims like those Plaintiff advances here, because

there was no “good faith” defense to violations of explicit statutory commands.

               1.      Qualified immunity’s rationale as a common-law tort immunity
                       analogue developed exclusively in the context of constitutional tort
                       litigation.

       The doctrine of qualified immunity first arose in the context of constitutional tort litigation

concerning § 1985’s neighboring provision, § 1983.           Both sections were enacted during

Reconstruction as part of the 1871 Ku Klux Klan Act. See An Act to Enforce the Provisions of

the Fourteenth Amendment to the Constitution of the United States, and for Other Purposes, 17

Stat. 13 (1871). Specifically, the Klan Act (including § 1983 and § 1985) was enacted to respond

to widespread lawlessness and rampant civil rights violations in un-reconstructed Southern states,

and the harassment and intimidation, often with the explicit or tacit approval of state officials, of

federal officers who were seeking to remedy those violations. See William Baude, Is Qualified

Immunity Unlawful?, 106 Calif. L. Rev. 45, 49 (2018); see also McCord v. Bailey, 636 F.2d 606,

615 (D.C. Cir. 1980) (Act passed by Congress to protect civil rights, restore civil authority, remedy

attacks on federal officials, and protect “federal courts’ ability to proceed without improper

influence”). The animating premise of the Klan Act was to create a federal civil remedy in order




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to allow civil claims to be brought directly in federal court whether or not state courts were able

and willing to provide adequate redress.

           Like § 1985, § 1983 contains no express textual reference to any kind of immunity for

government officials. See Owen v. City of Independence, 445 U.S. 622, 635 (1980) (“By its terms,

§ 1983 ‘creates a species of tort liability that on its face admits of no immunities.’ Its language is

absolute and unqualified; no mention is made of any privileges, immunities, or defenses that may

be asserted.” (quoting Imbler v. Pachtman, 424 U.S. 409, 417 (1976))). Instead, qualified

immunity is an atextual defense that developed as judge-made law. Its origins trace back to the

substantial increase in § 1983 constitutional tort litigation in the mid-twentieth century, itself the

result of the confluence of two separate developments in the Supreme Court’s jurisprudence. First,

through selective incorporation, the Supreme Court gradually applied most of the Bill of Rights to

the states through the Due Process Clause of the Fourteenth Amendment. See Timbs v. Indiana,

139 S. Ct. 682, 687 (2019); see also McDonald v. City of Chicago, Ill., 561 U.S. 742, 759–61

(2010) (describing twentieth-century history of incorporation). Second, in Monroe v. Pape, the

Court recognized that § 1983 authorized suits against state officers for violations of federal rights

even when those violations were not themselves sanctioned by state law—rendering the

availability and adequacy of state remedies irrelevant. 365 U.S. 167, 184 (1961).

       Between them, these developments provoked a substantial increase in federal

constitutional tort litigation under § 1983. See Crawford-El v. Britton, 523 U.S. 574, 611 (1998)

(Scalia, J., dissenting) (“[Pape] changed a statute that had generated only 21 cases in the first 50

years of its existence into one that pours into the federal courts tens of thousands of suits each

year.”).     In response, the Court soon considered whether government officials sued for

constitutional torts under § 1983 could raise the common-law defense of good faith and probable




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cause. See Pierson v. Ray, 386 U.S. 547, 555–57 (1967).

        The good-faith reliance rationale was putatively derived from the defense peace officers

traditionally raised when plaintiffs sought compensation for allegedly unlawful searches and

seizures—through common-law tort claims for trespass, false arrest, and/or false imprisonment.

Citing to the Restatement (Second) of Torts, the Supreme Court in Pierson concluded that under

the common law, a “peace officer who arrest[ed] someone with probable cause [wa]s not liable for

false arrest simply because the innocence of the suspect [wa]s later proved.” Id. at 555. Looking

to the enactment history of § 1983, where “[t]he legislative record gives no clear indication that

Congress meant to abolish wholesale all common-law immunities,” id. at 554, the Court concluded

the defense of good faith and probable cause, which is “available to the officers in the common-

law action for false arrest and imprisonment, is also available” as a defense to § 1983 liability. Id.

at 557. 2

                 2.    Qualified immunity’s common-law-derived “good faith” reliance
                       defense has no application to Plaintiff’s § 1985(1) and (2) claims.

        Regardless of whether qualified immunity’s common-law basis is on sound footing, the

key point is that this rationale was entirely tied to the analogy between the constitutional torts that

could be enforced through § 1983 and traditional common-law torts. See Abbasi, 137 S. Ct. at

1870 (Thomas, J., concurring in part and concurring in the judgment) (noting that qualified

immunity is available under Section 1983 “if it was ‘historically accorded the relevant official’ in



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  Although the Court has repeatedly affirmed this basis for qualified immunity in the years since,
see Filarsky v. Delia, 566 U.S. 377, 383 (2012) (finding “common law protections ‘well grounded
in history and reason’” and not “abrogated ‘by covert inclusion in the general language’ of § 1983”
(citation omitted)), that conclusion has been widely criticized on the basis that “history does not
support the Court’s claims about qualified immunity’s common-law foundations.” Joanna C.
Schwartz, The Case Against Qualified Immunity, 93 Notre Dame L. Rev. 1797, 1801 (2018); see
also James E. Pfander, Constitutional Torts and the War on Terror 16–17 (2017); Baude, supra,
at 55.



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an analogous situation ‘at common law’” (citation omitted)). But that rationale provides no

independent basis for recognizing qualified immunity as a defense to express statutory offenses

that lack corresponding common-law tort analogues—like the statutory offenses alleged by

Plaintiff here under § 1985(1) and (2). Put another way, the onus ought to be on the moving

Defendants to provide evidence that the common-law “good faith” reliance defense purportedly

available to common-law tort claims circa 1871 was available then (or even anytime since) as a

defense to allegations of witness tampering, obstruction of justice, and obstruction of official

duties. They have offered no such evidence here, which is telling.

       B.      Qualified immunity’s “fair notice” rationale does not support its application
               to the § 1985 statutory offenses alleged by Plaintiff here.

       A second rationale that the Supreme Court has provided for the doctrine of qualified

immunity is that it ensures “fair notice” for government officials. Under this rationale, government

officers must be afforded fair warning that their conduct violates the law before they may be held

civilly liable for such violations. As with the common-law immunity rationale, the fair-notice

justification has been widely criticized by scholars and jurists. Again, though, to whatever extent

it holds water in the context of judicially expounded constitutional torts, it provides no principled

basis for extending qualified immunity to § 1985(1) and (2). After all, those express statutory

offenses and their criminal analogues already provide state officials with fair notice; they would

raise serious Fifth Amendment vagueness problems if they did not.

               1.      Qualified immunity’s “fair notice” rationale was developed in specific
                       response to constitutional tort litigation.

       Like the common-law tort defense rationale, the fair-notice rationale predates qualified

immunity itself. Indeed, it stems from the Court’s interpretation of § 1983’s companion criminal

provision, 18 U.S.C. § 242, which proscribes the willful deprivation under color of law of any

rights protected by the Constitution. In Screws v. United States, the Court confronted a due-process



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challenge to § 242 brought by local law enforcement officers who had been convicted of unlawful

arrest and violation of a citizen’s right to due process. 325 U.S. 91, 96 (1945). The defendants

argued that, because constitutional rights are not “always reducible to specific rules” and as “a

body of legal principles” lack “the basic specificity necessary for criminal statutes,” § 242’s

prohibition on the deprivation of such rights is so inherently vague as to be unconstitutional. Id.

       A plurality of the Court, noting Congress’s amendment to § 242 in 1909 to add a

willfulness scienter element to render the criminal prohibitions “less severe,” concluded that this

element requires “a specific intent to deprive a person of a federal right made definite by decision

or other rule of law,” which “saves the Act from any charge of unconstitutionality on the grounds

of vagueness.” Id. at 103 (plurality opinion) (emphasis added). Restricting liability to violations

of rights “made definite,” the Screws plurality reasoned, was justifiable, given § 242’s

criminalization of constitutional rights violations that “incorporate by reference a large body of

changing and uncertain law.” Id. at 96. Justice Rutledge, providing the necessary fifth vote in

concurrence, nevertheless elaborated that “the argument of vagueness . . . ignores the nature of the

criminal act itself and the notice necessarily given from” it, since § 242 outlaws not “crimes done

by men in general” but those committed by “state officers in the course of official conduct and

done with the aid of state power” such that “[t]hese facts, inherent in the crime, give all the warning

constitutionally required”—for “one, so situated,” such “misconduct can have no excuse of

innocence or ignorance.” Id. at 129 (Rutledge, J., concurring in the result). In other words, where

criminal law prohibited the underlying conduct, that prohibition, to the extent that it was

constitutional, provided the fair notice that many constitutional torts would otherwise lack.

       As the qualified immunity doctrine developed over time, however, the relationship between

§ 1983’s civil prohibitions and § 242’s corresponding criminal prohibitions became muddled.




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After the Court held in Harlow v. Fitzgerald that a right must be so “clearly established” that “a

reasonable person would have known” of its violation, 457 U.S. 800, 818 (1982), it became unclear

whether and to what extent the need for a constitutional right to be “clearly established” was co-

extensive with, or more demanding than, Screws’ requirement that § 242 provide fair notice of

criminal liability for violations of constitutional rights. Some lower courts, fusing the two

doctrines together, had concluded that if the Supreme Court had only “enunciate[d] a right, but

[left] some doubt or ambiguity as to whether that right [would] apply to a particular factual

situation, the right [h]as not been ‘made specific’ as is required under Screws.” United States v.

Lanier, 73 F.3d 1380, 1393 (6th Cir. 1996).

       The Supreme Court resoundingly rejected that approach, unanimously holding it

“unsound” that fair notice is satisfied “only if a prior decision of this Court has declared the right,

and then only when this Court has applied its ruling in a case with facts ‘fundamentally similar’ to

the case being prosecuted.” United States v. Lanier, 520 U.S. 259, 268 (1997) (emphasis added)

(citation omitted). Rather, the fair-notice standard articulated in Screws is indistinguishable from

qualified immunity’s “clearly established right” standard articulated in Harlow:

       [B]oth serve the same objective, and in effect the qualified immunity test is simply
       the adaptation of the fair warning standard to give officials (and, ultimately,
       governments) the same protection from civil liability and its consequences that
       individuals have traditionally possessed in the face of vague criminal statutes. To
       require something clearer than ‘clearly established’ would, then, call for something
       beyond ‘fair warning.’

Id. at 270–71. As the Court later put it in Hope v. Pelzer—concerning a § 1983 suit alleging

violations of the Eighth and Fourteenth Amendments—“Lanier thus makes clear that officials can

still be on notice that their conduct violates established law even in novel factual circumstances.”

536 U.S. 730, 741 (2002).

       As with the common-law good-faith rationale for qualified immunity, scholars have




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questioned whether qualified immunity, as a general matter, can be supported on fair notice

grounds. For instance, criminal prosecutions have generally been thought to present distinct and

elevated fair-warning concerns inapplicable to civil suits like those arising under § 1983. See, e.g.,

Baude, supra, at 73–74. And even in the constitutional tort context, there is reason to doubt

whether qualified immunity actually aids in ensuring fair warning; in practice, law enforcement

officers are “infrequently taught” the relevant constitutional rules and case law that would actually

put them on notice concerning potentially unlawful conduct. See Joanna C. Schwartz, Qualified

Immunity’s Boldest Lie, 88 U. Chi. L. Rev. 605, 666–68, 673 (2021).

        But that debate once again is inapposite here, as Lanier and Hope make clear that—even

where qualified immunity applies—it is necessarily satisfied (and the immunity is defeated) by a

statutory offense that itself provides “fair notice.”

                2.      Qualified immunity’s “fair notice” rationale has no application to
                        Plaintiff’s § 1985(1) and (2) claims.

        Importantly, all of the Supreme Court’s cases justifying qualified immunity on fair-notice

grounds did so in the context of constitutional torts—in which the concerns raised in Screws are at

least theoretically present.    But a different situation is presented by statutorily proscribed

conduct—where the statutory elements themselves provide fair notice of the prohibited conduct.

See, e.g., Richard H. Fallon, Jr., Bidding Farewell to Constitutional Torts, 107 Calif. L. Rev. 933,

993 (2019) (noting that § 1983 “does not pose ‘ordinary’ questions of statutory interpretation”);

Nathan S. Chapman, Fair Notice Rationale for Qualified Immunity, __ Fla. L. Rev. 39–41

(forthcoming 2022) (justifying the extension of qualified immunity to constitutional tort claims

because such claims are “more unpredictable than most tort liability”).

        For instance, ordinary tools of statutory interpretation, including the “plain meaning” rule,

already supply a basis to ensure that statutory prohibitions are interpreted in a manner ensuring




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adequate notice. See David S. Louk, The Audiences of Statutes, 105 Cornell L. Rev. 137, 167

(2019) (“[C]ourts often prioritize certain substantive canons and interpretive methods that assist

in ensuring adequate notice and enhance the communicative capacity of the statute.”); Note,

Textualism as Fair Notice, 123 Harv. L. Rev. 542, 557 (2009) (“By seeking to discern the most

reasonable, plain meaning of a statute, textualism by its very definition seeks to satisfy th[e] dictate

of fair notice” “that no person be held to account under a law the content of which he was unable

to know beforehand.”). And civil statutory prohibitions with criminal counterparts bring with

them additional guarantees of the same—whether through Fifth Amendment vagueness concerns

or other principles of statutory interpretation such as the rule of lenity. 3 See Wooden v. United

States, 142 S. Ct. 1063, 1082 (2022) (Gorsuch, J., concurring in the judgment) (noting “lenity’s

relationship to due process” and “fair notice”); Baude, supra, at 69 (describing “lenity” as “the

oldest of the Court’s justifications for qualified immunity”).

       Because at most qualified immunity’s fair-notice inquiry is duplicative of the fair-notice

concerns that already illuminate criminal prohibitions, where (as here) the civil offenses

correspond to the criminal ones, there is no independent basis to apply qualified immunity. In

such circumstances, the Courts of Appeals have upheld convictions secured under those provisions

as satisfying the constitutional fair-notice requirement. See, e.g., United States v. Morrison, 98

F.3d 619, 629–30 (D.C. Cir. 1996) (upholding 18 U.S.C. § 1512(b) conviction over defendant’s

contention that the term “corruptly” is unconstitutionally vague); United States v. Fulbright, 105

F.3d 443, 446, 452 (9th Cir. 1997) (upholding convictions under 18 U.S.C. § 372 and § 1503

because “the statutes are not impermissibly vague as applied”), overruled on other grounds, U.S.




3
 Section 1985(1)’s corresponding criminal provision is 18 U.S.C. § 372, and § 1985(2)’s are § 371
(conspiracy against the United States and its agencies) & § 1512 (witness tampering).



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v. Heredia, 483 F.3d 913 (9th Cir. 2007) (en banc). And courts in this District have consistently

reached the same conclusion with respect to vagueness challenges by January 6th defendants

charged under those same provisions. See, e.g., United States v. Puma, No. 21-0454, 2022 WL

823079, at *11 (D.D.C. Mar. 19, 2022) (upholding 18 U.S.C. § 1512(c) conviction because “the

text of Section 1512(c), and the inclusion of the term ‘corruptly,’ ‘give[s] fair notice of the conduct

it punishes’ and does not invite ‘arbitrary enforcement’” (quoting Johnson v. United States, 576

U.S. 591, 596 (2015))); United States v. Bozell, No. 21-CR-216, 2022 WL 474144, at *6 (D.D.C.

Feb. 16, 2022) (joining the “many other judges [who] have rejected” arguments that Section

1512(c) is unconstitutionally vague in other January 6th cases); United States v. Grider, No. 21-

0022, 2022 WL 392307, at *7 (D.D.C. Feb. 9, 2022) (same); United States v. Mostofksy, No. 21-

138, 2021 WL 6049891, at *11 (D.D.C. Dec. 21, 2021) (same).

       These cases suggest that, in the context of pure statutory prohibitions with criminal

analogues (such as those at issue here), qualified immunity serves no purpose separate and apart

from the fair-notice requirement, and thus has no independent justification. In other words, so

long as a plaintiff plausibly alleges that a government officer has acted in a manner that is expressly

prohibited by federal criminal statutes that are not themselves unconstitutionally vague, that should

be enough to survive a motion to dismiss.

       C.      Qualified immunity’s policy rationales do not support its application to the
               § 1985 statutory offenses alleged by Plaintiff here.

       Apart from the common-law-immunity and fair-notice rationales, the Court has also

justified qualified immunity on policy grounds, namely, that qualified immunity protects

government officials from the burdens of litigation and so minimizes undue interference with

government operations.

       But these rationales have primarily been articulated in the context of constitutional tort




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claims concerning alleged deprivations of constitutional rights. By contrast, the extent to which

qualified immunity can be justified on policy grounds for claims alleging pure statutory violations

is less clear. Harlow’s inclusion of statutory rights among those for which qualified immunity’s

“clearly established law” limitation extends was made in passing and with no additional context.

See 457 U.S. at 818. The Court has done little in the four decades since to explain how these

policy rationales justify the independent application of qualified immunity in the context of pure

statutory offenses like those at issue here. And more specifically, the pragmatic bases the Court

has put forward for qualified immunity—that qualified immunity protects against undue

interference with government operations—are inapposite to the specific § 1985(1) and (2)

violations alleged by Plaintiff.

               1.      Policy justifications for qualified immunity stem from the high volume
                       of constitutional tort litigation—unlike the paucity of § 1985(1) and (2)
                       suits.

       The Supreme Court’s “policy” rationales for qualified immunity reached their high-water

mark in Harlow, in which the majority abandoned the exception to qualified immunity for officers

who acted in subjective bad faith. Id. at 818. In shifting to a purely objective “good faith”-reliance

standard, the Harlow Court noted the “special costs” to judicial inquiries into claims of subjective

good-faith reliance, such as “broad-ranging discovery and the deposing of numerous persons,

including an official’s professional colleagues,” which “can be peculiarly disruptive of effective

government.” Id. at 817.

       The Court in Harlow thus grounded qualified immunity in policy rationales for limiting

government officials’ exposure to litigation and undue interference: “the diversion of official

energy from pressing public issues,” “the deterrence of able citizens from acceptance of public

office,” and “the danger that fear of being sued will dampen the ardor of all but the most resolute,

or the most irresponsible [public officials], in the unflinching discharge of their duties.” Id. at 814



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(internal quotation marks and citation omitted). The Court has since repeatedly cited these grounds

for extending qualified immunity to Defendants named in constitutional tort suits. See, e.g., Malley

v. Briggs, 475 U.S. 335, 341 (1986) (“The Harlow standard is specifically designed to ‘avoid

excessive disruption of government and permit the resolution of many insubstantial claims on

summary judgment,’ and we believe it sufficiently serves this goal.” (quoting Harlow, 457 U.S. at

818)).

         Like qualified immunity’s other rationales, these policy justifications have also come under

increasing scrutiny from scholars, including amici, who have questioned whether qualified

immunity actually furthers those objectives. See, e.g., Joanna C. Schwartz, The Case Against

Qualified Immunity, 93 Notre Dame L. Rev. 1797, 1803–14 (2018); Hearing on Examining Civ.

Rights Litig. Reform, Part I: Qualified Immunity Before the Comm. on the Judiciary, Subcomm.

on the Const. and Civil Justice, U.S. H. of Reps., 117th Cong. (Mar. 31, 2022) (written testimony

of Alexander A. Reinert, Max Freund Professor of Litig. & Advocacy Benjamin N. Cardozo

School of Law), available at https://docs.house.gov/meetings/JU/JU10/20220331/114567/HHRG-

117-JU10-Wstate-ReinertA-20220331.pdf (testimony identifying practical problems with the

doctrine).

         But again, to whatever extent the concerns animating the expansion of qualified immunity

in Harlow are present in constitutional tort litigation, they are absent in cases like this one, which

plausibly states express violations of § 1985(1) and (2).

                2.      Qualified immunity’s policy-based rationales do not extend to civil suits
                        against government officers for the statutory misconduct offenses
                        alleged here.

         Whether the Court’s policy-based rationales justify extending qualified immunity to

constitutional torts, such rationales cannot support extending qualified immunity to Plaintiff’s

§ 1985(1) and (2) claims. Doing so would undermine, rather than enhance, the policy goals that



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motivated Congress to enact § 1985. This is especially the case where federal officials are the

alleged perpetrators of enumerated offenses under § 1985(1) & (2), because individuals are less

likely to be able to rely on enforcement by federal officials of their criminal analogues, leaving

§ 1985(1) and (2) as the only grounds for relief. This reasoning only further counsels against

extending qualified immunity at least to federal officials defending § 1985(1) and (2) claims for

offenses like witness tampering and obstruction of justice.

       The enactment history of § 1985 casts further doubt on any pragmatic justification for

qualified immunity here. The legislative history of the Ku Klux Klan Act, including the provisions

now codified at §§ 1983 and 1985, makes clear that, despite the Act’s name, Congress was not

focused solely on the evils of the Klan. Rather, Congress drafted the provision that became § 1985

precisely so that private citizens could hold government actors accountable who were passively

complicit or actively involved in wrongdoing: “Sheriffs, having eyes to see, see not; judges,

having ears to hear, hear not; . . . [A]ll the apparatus and machinery of civil government, all the

processes of justice, skulk away as if government and justice were crimes and feared detection.

Among the most dangerous things an injured party can do is to appeal to justice.” Cong. Globe

42d Cong., 1st Sess. App. at 78 (1871) (remarks of Rep. Perry).

       Academic scholarship about this period has identified a similar understanding of the

impetus for the Act: “[B]y early 1871 there was overwhelming evidence that through tacit

complicity and deliberate inactivity, state and local officials were fostering vigilante terrorism

against politically active [B]lacks and Union sympathizers.” Developments in the Law—Section

1983 and Federalism, 90 Harv. L. Rev. 1133, 1153 (1977) (citing Marshall S. Shapo,

Constitutional Tort: Monroe v. Pape and the Frontiers Beyond, 60 Nw. U.L. Rev. 277, 279–80

(1965)).




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        Thus, from its origin, the Klan Act was undergirded by the need to hold government

authorities accountable where they either turned a blind eye to or—worse yet—actively enabled

or participated in nefarious conduct interfering with both civil rights and the administration of

justice. Although Congress’s primary objective was to address Southern states’ unwillingness to

protect (or overt efforts to undermine) residents’ constitutional rights, the statute’s reach

deliberately extends to federal officials.

        And if federal officials are themselves impeding the administration of justice, it defies

belief that Congress would have wanted those same officials to have immunity from violations of

those prohibitions under any circumstances. Although this last argument is specific to federal

officials defending claims under § 1985(1) and (2)—rather than state officials defending alleged

constitutional torts under § 1983—it reinforces the broader themes of why qualified immunity is

such a poor fit for those statutes.

        Put simply, the problems that qualified immunity was meant to solve simply do not arise

where the civil liability at issue is for conduct that is in violation of express statutory prohibitions.

III.    THERE   IS NO DOCTRINAL BASIS TO EXTEND QUALIFIED IMMUNITY TO                     DEFENDANTS
        HERE.

        For all the reasons given above, qualified immunity should not be extended to Plaintiff’s

§ 1985(1) and (2) claims. The authorities cited by the Defendants do not show otherwise; indeed,

they counsel against extending traditional qualified immunity doctrine to Defendants’ case.

        As a threshold matter, many of the cases Defendants cite consider qualified immunity in

the context of constitutional tort claims under § 1983 or § 1985(3). See, e.g., ECF No. 26-1 (Mem.

in Supp. of Julia Hahn’s Mot. to Dismiss) (“Hahn Mot.”) at 26–27 (citing, e.g., District of

Columbia v. Wesby, 138 S. Ct. 577, 590 (2018) (Section 1983 claim), and Abbasi, 137 S. Ct. at

1866 (Section 1985(3) claim)); see ECF No. 20 (Mem. in Supp. of Donald Trump, Jr. & Daniel




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Scavino, Jr.’s Mot. to Dismiss) at 41–42 (citing, e.g., Pearson v. Callahan, 555 U.S. 223, 231

(2009) (Section 1983 claim)). For the reasons explained in the preceding Section, those cases are

inapposite here. In fact, the logic of the cases cited by Defendants themselves cautions against

applying qualified immunity to the alleged statutory violations implicated in this suit with the same

force as the constitutional violations alleged in those cases. Unlike the “abstract rights” at issue in

those cases, see Abbasi, 137 S. Ct. at 1866, the statutory rights at issue here are concrete.

        Courts of Appeals have likewise recognized how inapt the qualified immunity inquiry is to

§ 1985 claims such as witness tampering. In Kinney v. Weaver, 367 F.3d 337 (5th Cir. 2004) (en

banc), plaintiffs brought a § 1985(2) claim alleging a conspiracy against them by state and local

officials because of their testimony in judicial proceedings. The Fifth Circuit, sitting en banc,

rejected defendants’ claims to qualified immunity. At issue was whether § 1985(2)’s prohibition

of witness intimidation included expert witnesses in addition to fact witnesses. Not only did the

Fifth Circuit affirm that it did, but it held that this was “clearly established” in light of “the text’s

plain words.” Id. at 532. Given § 1985(2)’s reference to “any party or witness,” “[n]o reasonable

official would find [the text] ambiguous on this point.” Id. (emphasis added). The court then

contrasted the need for a body of cases “to give clear shape to vague constitutional provisions

referring to ‘due process of law’ or ‘cruel and unusual punishments’” with § 1985(2)’s statutory

prohibitions, for which “the text is itself sufficient to put reasonable officials on notice.” Id.

        The Fifth Circuit found “untenable any general proposition that cases are necessarily

required in order to create clearly established law.” Kinney, 367 F.3d at 352 n.16. Citing Lanier,

it noted that:


        [T]he touchstone is whether the statute, either standing alone or as construed, made
        it reasonably clear at the relevant time that the defendant’s conduct was criminal.
        We doubt that the Police Officials would be willing to agree that the contents of the




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       Texas Penal Code or Title 18 of the U.S. Code are inherently incapable of giving
       notice of their own meaning, even as to phrases as transparent as “any . . . witness.”

Id. (cleaned up).

       Other lower courts have reached similar conclusions. For instance, in Richardson v. Reyes,

the district court denied qualified immunity for defendants accused of withholding medical

treatment in retaliation for filing a lawsuit, reasoning that “[e]very reasonable official would

understand that conspiring with others to punish Plaintiff for filing a lawsuit would violate

Plaintiff’s rights” and subpart one of 1985(2). No. 12-CV-00310, 2013 WL 5800769, at *6 (N.D.

Cal. Oct. 28, 2013).

       Because Plaintiff has plausibly alleged statutory violations of provisions of § 1985(1) and

(2) that have already been found to provide fair notice, there is no need to ask whether there is a

sufficiently similar case that would have informed Defendants that their actions were illegal.

Defendant Hahn advances an iteration of the argument rejected in Kinney, contending that case

law does not establish that § 1985(2) applies to witnesses in congressional proceedings as opposed

to witnesses in federal court, and that she is thus entitled to qualified immunity. Hahn Mot. at 35.

But that is once again applying constitutional tort reasoning out of context; the text of § 1985(2)

clearly applies to witnesses generally—without limiting that group by reference to the legal

proceedings in which they are serving as a witness. Defendants cannot reasonably claim that they

required prior case law to understand the plain meaning of a statute. Kinney, 367 F.3d at 352;

Richardson, 2013 WL 5800769, at *6 (rejecting qualified immunity argument because “[e]very

reasonable official would understand[] that conspiring with others to punish Plaintiff for filing a

lawsuit would violate Plaintiff’s rights” and Section 1985(2)).

IV.    CONCLUSION

       None of the proffered justifications for qualified immunity—the common-law good-faith




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reliance defense, the need for fair notice, or the prevention of undue government disruption—

justifies the extension of qualified immunity to Plaintiff’s § 1985(1) and (2) claims against

Defendants Hahn or Scavino, Jr. First, the common-law “good faith reliance” tort defense that

served as the genesis for qualified immunity has no basis (historical or otherwise) for pure statutory

offenses like those raised here. Second, to the extent the qualified immunity inquiry is coterminous

with fair notice, each of the enumerated offenses Plaintiff alleges under these statutes conveys fair

notice to Defendants. There is simply no argument that Defendants lacked fair notice that

retaliating against a congressional witness who held a federal office constituted a violation of the

clear text of § 1985(1) and (2), especially given judicial decisions finding the parallel criminal

offenses provide fair notice. Third, to whatever extent pragmatic considerations should be

considered here, they weigh in favor of declining to extend qualified immunity to defendants.

       Thus, amici respectfully submit that neither Defendant Hahn nor Defendant Scavino, Jr.

should be dismissed from this case on the basis of qualified immunity. Amici take no position on

any of the other issues raised in the pending motions to dismiss.




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                                 Respectfully submitted,


Dated: August 5, 2022            By: /s/ Kathleen Hartnett
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                               CERTIFICATE OF SERVICE


        I certify that on August 5, 2022, a copy of the foregoing was filed with the Clerk using

the Court’s CM/ECF system, which will send a copy to all counsel of record.



                                              /s/ Kathleen Hartnett
                                              Kathleen R. Hartnett (DC Bar No. 483250)




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